Filed 8/21/24 Hershey v. Geragos &amp; Geragos CA2/2
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions
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IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                        SECOND APPELLATE DISTRICT

                                        DIVISION TWO


TERESA HERSHEY et al.,                                   B330853

         Plaintiffs and Appellants,                      (Los Angeles County
                                                         Super. Ct. No. 19STCV17855)
         v.

GERAGOS &amp; GERAGOS, APC,
et al.,

     Defendants and
Respondents.




     APPEAL from orders of the Superior Court of Los Angeles
County, Rolf M. Treu, Charles C. Lee and Susan J. Matcham,
Judges. Affirmed.
     Law Office of Ron A. Rosen Janfaza and Ron A. Rosen
Janfaza for Plaintiffs and Appellants.
     No appearance for Defendants and Respondents.
       Appellants Teresa Hershey, Michelle Roberts, Lori
Shanyfelt, and Stephanie Small appeal from orders imposing
monetary sanctions against their counsel, Ron A. Rosen Janfaza,
for discovery violations in their legal malpractice action against
respondents Geragos &amp; Geragos, APC, and Mark J. Geragos.
Appellants contend the trial court erred in imposing sanctions
because they did not file oppositions to respondents’ motions to
compel discovery responses. We disagree and affirm the orders.

       FACTUAL AND PROCEDURAL BACKGROUND
       Appellants filed a legal malpractice action against
respondents, their former attorneys, alleging various acts of
professional negligence in handling product liability and medical
malpractice claims. When a number of discovery disputes arose,
the trial court ordered the matter sent to a discovery referee and
appointed a retired superior court judge. The disputes included
motions filed by respondents to compel further responses to their
interrogatories and requests for production of documents. In their
motions, respondents sought monetary sanctions under Code of
Civil Procedure sections 2023.010, 2023.030, 2030.300, and
2031.310 for the attorney’s fees and costs incurred to seek the
discovery orders.1
       Appellants did not file oppositions; instead, they served
supplemental responses. The discovery referee made
recommendations on the proper resolution of respondents’
motions in three reports. She also recommended monetary
sanctions be imposed solely on appellants’ counsel. This
recommendation was based on findings that appellants’ counsel


1    All further unattributed statutory references are to the
Code of Civil Procedure.




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misused discovery by making unmeritorious objections, giving
evasive responses, violating the court’s discovery order,
deliberately misrepresenting the date on which responses were
served, and engaging in dilatory conduct designed to delay and
impede discovery and trial preparation.
      The trial court adopted the discovery referee’s
recommendations and issued three orders requiring appellants’
counsel to pay a total of $22,933 in monetary sanctions: (1)
$9,231.50 on March 30, 2023; (2) $4,043 on April 4, 2023; and (3)
$9,658.50 on May 8, 2023, for a total of $22,933.
      On May 25, 2023, appellants filed a timely appeal from
these orders imposing sanctions.

                           DISCUSSION
I.     The April 4, 2023 sanctions order is not an
       appealable order
       Discovery sanctions exceeding $5,000 are appealable under
section 904.1, subdivision (a)(11) and (12). (Rail-Transport
Employees Assn. v. Union Pacific Motor Freight (1996) 46
Cal.App.4th 469, 475.) It is settled law that orders separately
imposing sanctions cannot be aggregated to reach the $5,000
threshold that permits an immediate appeal. (Calhoun v. Vallejo
City Unified School Dist. (1993) 20 Cal.App.4th 39, 45,
disapproved on other grounds by K.J. v. Los Angeles Unified
School Dist. (2020) 8 Cal.5th 875, 888, fn. 6.) “‘An attempt to
appeal from a nonappealable order does not give this court
jurisdiction or authority to review it.’ [Citation.] Consequently, it
is the duty of the court to dismiss an appeal from an order that is
not appealable.” (Doe v. United States Swimming, Inc. (2011) 200
Cal.App.4th 1424, 1432.)




                                  3
        The trial court imposed monetary sanctions on appellants’
counsel in three separate orders. The March 30, 2023 order
imposed sanctions of $9,231.50, and the May 8, 2023 order
imposed sanctions of $9,658.50. These orders are subject to
appeal because they exceed the $5,000 threshold.
        The April 4, 2023, order, however, imposed sanctions of
$4,043. Since this is less than the $5,000 threshold, this order is
not appealable and we decline to consider appellants’ appeal from
it.
II.     Standard of review
        “We review an order imposing discovery sanctions under
the abuse of discretion standard. [Citation.] An abuse of
discretion occurs if, in light of the applicable law and considering
all of the relevant circumstances, the court’s decision exceeds the
bounds of reason and results in a miscarriage of justice.
[Citations.] The abuse of discretion standard affords considerable
deference to the trial court, provided that the court acted in
accordance with the governing rules of law.” (New Albertsons, Inc.
v. Superior Court (2008) 168 Cal.App.4th 1403, 1422.) “‘It is
[appellant’s] burden to affirmatively demonstrate error and,
where the evidence is in conflict, this court will not disturb the
trial court’s findings.’” (Sinaiko Healthcare Consulting, Inc. v.
Pacific Healthcare Consultants (2007) 148 Cal.App.4th 390, 401
(Sinaiko).)
III. The trial court did not abuse its discretion in
        imposing sanctions
        Appellants contend the trial court erred in imposing
sanctions because they did not file oppositions to respondents’
motions to compel. We disagree.




                                 4
       A.    Legal framework
       “The Discovery Act provides a self-executing process for
litigants to obtain broad discovery with a minimum of judicial
intervention. . . . [¶] Each discovery method authorizes the court
to impose specific types of sanctions under specific circumstances.
When a discovery motion is filed, the statute governing the
motion generally requires that the court impose a monetary
sanction against a party, person, or attorney who unsuccessfully
made or opposed the motion, unless the person subject to the
sanction acted with substantial justification or sanctions would
be unjust under the circumstances.” (City of Los Angeles v.
PricewaterhouseCoopers, LLC (2022) 84 Cal.App.5th 466, 498,
citations omitted, review granted Jan. 25, 2023, S277211
(PricewaterhouseCoopers).)
       Here, the dispute involves interrogatories and demands for
production. Sections 2030.300, subdivision (d) and 2031.310,
subdivision (h) mandate the imposition of sanctions on parties
that unsuccessfully make or oppose a motion to compel further
responses to an interrogatory or demand.2 California Rules of


2     Section 2030.300, subdivision (d), states, “The court shall
impose a monetary sanction under Chapter 7 (commencing with
Section 2023.010) against any party, person, or attorney who
unsuccessfully makes or opposes a motion to compel a further
response to interrogatories, unless it finds that the one subject to
the sanction acted with substantial justification or that other
circumstances make the imposition of the sanction unjust.”
      Section 2031.310, subdivision (h), states “Except as
provided in subdivision (j), the court shall impose a monetary
sanction under Chapter 7 (commencing with Section 2023.010)
against any party, person, or attorney who unsuccessfully makes
or opposes a motion to compel further response to a demand,
unless it finds that the one subject to the sanction acted with




                                 5
Court, rule 3.1348(a), augments this by stating a court “may”
award sanctions under the Civil Discovery Act (Discovery Act;
§ 2016.010 et seq.) in favor of a party who files a motion to compel
discovery, even though no opposition to the motion was filed, or
opposition to the motion was withdrawn, or the requested
discovery was provided to the moving party after the motion was
filed. (See Masimo Corp. v. The Vanderpool Law Firm, Inc. (2024)
101 Cal.App.5th 902, 909, fn. 9 [“Clearly forcing a party to resort
to the court to get discovery is the sanctionable behavior.”].)
        B.   Monetary sanctions were authorized under
             sections 2030.300 and 2031.310 and California
             Rules of Court, rule 3.1348
        Appellants argue sanctions could not be imposed because
respondents filed their motions under sections 2023.010 and
2023.030.3 In support they cite PricewaterhouseCoopers because
it interpreted sections 2023.010 and 2023.030 to be “definitional”
statutes that do not authorize the court to impose sanctions.
(PricewaterhouseCoopers, supra, 84 Cal.App.5th at p. 484.)4

substantial justification or that other circumstances make the
imposition of the sanction unjust.” Subdivision (j) of section
2031.310 concerns the failure to obey an order compelling further
responses and does not apply here.
3     Section 2023.010 defines misuses of discovery, e.g., failing
to respond or to submit to an authorized method of discovery;
making, without substantial justification, an unmeritorious
objection to discovery; making an evasive response to discovery;
or disobeying a court order to provide discovery.
       Section 2023.030 authorizes the court to impose monetary,
issue, evidentiary, or termination sanctions against anyone
engaging in conduct that is a misuse of the discovery process.
4     Other cases have found section 2023.030 authorizes
sanctions. See, e.g., Pratt v. Union Pacific Railroad Co. (2008)




                                 6
      Respondents, however, sought monetary sanctions under
two other statutes: sections 2030.300 and 2031.310. As a result,
this matter is clearly distinguishable from
PricewaterhouseCoopers. In that case, the party filed a motion for
sanctions solely under sections 2023.010 and 2023.030 without
reference to any other authorizing statute under the Discovery
Act. Here, respondents also cited sections 2030.300 and 2031.310,
which authorize the imposition of monetary sanctions against
parties, persons, or attorneys who unsuccessfully make or oppose
motions to compel further responses to interrogatories and
demands for inspection.
      Appellants claim these statutes do not support the
imposition of sanctions because they did not oppose respondents’
motions. However, appellants did not address California Rules of
Court, rule 3.1348, which authorizes a court to award sanctions
in favor of a party who files a motion to compel discovery even
though no opposition to the motion was filed. Thus, the court had
authority to impose sanctions on appellants’ counsel even though
no opposition papers were filed.
      Appellants also note they rendered respondents’ motions
moot by providing discovery responses after the motions were

168 Cal.App.4th 165 (Pratt), citing sections 2023.010 and
2023.030 in support of “the trial court has discretion to impose
monetary sanctions when one party persists, over objection and
without substantial justification, in an attempt to obtain
information outside the scope of permissible discovery.” See also
Cedars-Sinai Medical Center v. Superior Court (1998) 18 Cal.4th
1, 12, discussing remedies for misuse of discovery and finding the
plaintiff was free to seek discovery sanctions under former
section 2023 (reorganized into sections 2023.010, 2023.020,
2023.030, and 2023.040, effective July 1, 2005, without
substantive change (Stats. 2004, ch. 182, § 23)).




                                7
filed. Again, appellants did not address California Rules of Court,
rule 3.1348, which authorizes monetary sanctions when
supplemental responses are served after the motion to compel is
filed. Further, a trial court has discretion to impose sanctions for
the misuse of the discovery process even when the underlying
discovery dispute is resolved. (See Sinaiko, supra, 148
Cal.App.4th at pp. 408-409.)
       Such misuse was found by the trial court. Section 2023.010
defines the misuse of discovery to include making unmeritorious
objections to discovery; making evasive responses to discovery;
disobeying a court order to provide discovery; and using discovery
to cause unwarranted annoyance, embarrassment, or oppression,
or undue burden and expense. Section 2023.030, subdivision (a),
authorizes a court to impose monetary sanctions on the one
engaging in the misuse of discovery by ordering the payment of
the reasonable expenses, including attorney’s fees, incurred as a
result of that conduct.
       Here, the sanctions imposed on appellant’s counsel were
based on findings that he misused discovery by making
unmeritorious objections to discovery, making evasive responses,
violating the court’s discovery order, deliberately misrepresenting
the date on which responses were served, and engaging in
dilatory conduct designed to delay and impede discovery and trial
preparation. This conduct is identified as discovery misuse under
section 2023.010. The sanctions were imposed in connection with
respondents’ motions to compel further responses, circumstances
in which sections 2030.300 and 2031.310 and California Rules of
Court, rule 3.1348 authorize monetary sanctions. As a result,
there was no abuse of discretion to impose monetary sanctions on
appellants’ counsel by ordering him to pay the reasonable




                                 8
expenses, including attorney’s fees, incurred as a result of his
misuse of discovery.
      Therefore, the trial court had authority under section
2030.300, section 2031.310, and California Rules of Court, rule
3.1348 to impose monetary sanctions on appellants’ counsel. We
find no abuse of discretion in the court’s orders imposing
monetary sanctions based on the findings that appellants’
counsel had misused discovery.

                       DISPOSITION
     The orders imposing sanctions are affirmed.


                                    ________________________
                                    CHAVEZ, J.

We concur:


____________________________
LUI, P. J.


____________________________
HOFFSTADT, J.




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